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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                                 :
     Plaintiff,                                          :
                                                         :
v.                                                       :
                                                         :
LENOX HOLDINGS INC.                                      :
    Defendant.                                           :
———————————————————————–


               COMPLAINT TO RECOVER ERRONEOUS TAX REFUNDS

       The United States of America, at the request of the Chief Counsel of the Internal

Revenue Service, a delegate of the Secretary of the Treasury, and at the direction of the

Attorney General of the United States brings this civil action to recover erroneous tax

refunds issued to defendant Lenox Holdings, Inc. In support of this action, the United

States alleges as follows:

                               J URISDICTION    AND   V ENUE
       1.      Jurisdiction is conferred upon the district court pursuant to 26 U.S.C.

§ 7402 and 7405, and 28 U.S.C. §§ 1331, 1340, and 1345.

       2.      Venue for this action is proper in this Court pursuant to pursuant to 28

U.S.C. §§ 1391 and 1396.

                                             PARTIES

       3.      The plaintiff is the United States of America.
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       4.      The defendant is Lenox Holdings, Inc. (hereinafter “Lenox”) with an

address at 1414 Radcliffe Street, Bristol, PA 19007, which is within the jurisdiction of

this court.

                                    CLAIM FOR RELIEF


       5.      The United States incorporates by reference the allegations set forth in

paragraphs 1 through 4 above.

       6.      On or about April 17, 2020, Defendant Lenox filed Forms 1139,

Corporation Application for Tentative, for loss years March 31, 2018 and March 31,

2019. Lenox filed the Forms 1139 to claim carryback losses to periods ending March 31,

2014, March 31, 2015, and March 31, 2016.

       7.      As a result of the Forms 1139, on May 21, 2020, the Internal Revenue

issued an erroneous refund to Defendant Lenox, in the amount of $2,826,885 for the

2014 tax year.

       8.        As a result of the Forms 1139, on May 21, 2020, the Internal Revenue

issued an erroneous refund to Defendant Lenox, in the amount of $1,084,544 for the

2015 tax year.

       9.      As a result of the Forms 1139, on May 21, 2020, the Internal Revenue

issued an erroneous refund to Defendant Lenox, in the amount of $1,784,670 for the

2016 tax year.

       10.     The 2014 tax year refund was erroneous because the Forms 1139

submitted by Lenox, referred to in paragraph 6, were incomplete and thus not


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processable. The Defendant failed to complete lines 14 and 15 of the forms. The missing

information from lines 14 and 15 of Forms 1139 were necessary to determine whether

Lenox was entitled to a refund and/or to determine the correct amount of a refund.

      11.      The 2015 tax year refund was erroneous because the Forms 1139

submitted by Lenox, referred to in paragraph 6, were incomplete and thus not

processable. The Defendant failed to complete lines 14 and 15 of the form. The missing

information from lines 14 and 15 of Forms 1139 were necessary to determine whether

Lenox was entitled to a refund and/or to determine the correct amount of a refund.

      12.      The 2016 tax year refund was erroneous because the Forms 1139

submitted by Lenox, referred to in paragraph 6, were incomplete and thus not

processable. The Defendant failed to complete lines 14 and 15 of the form. The missing

information from lines 14 and 15 of Form 1139 were necessary to determine whether

Lenox was entitled to a refund and/or to determine the correct amount of a refund.

      13.      The IRS made numerous attempts to obtain the missing information on

the Forms 1139 from Defendant Lenox, but the Defendant failed to provide the requisite

information.

      14.      By letter dated August 19, 2020, the IRS issued a 510-C letter to Lenox.

The letter informed defendant Lenox it rejected the Forms 1139, referred to in

paragraph 6, submitted by the Defendant due to the missing information. It also

informed Lenox that since the Forms 1139 were rejected the refunds were erroneous

and requested repayment of the erroneous refunds.



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      15.     After getting no response to the August 19, 2020 letter, on or about

January 20, 2021, the IRS sent Lenox another 510-C letter explaining that the refunds

were erroneous and requesting repayment of the refunds.

      16.     As of May 19, 2022, the IRS has not received the erroneously refunded

amounts from the defendant.

      17.     Under 26 U.S.C. § 7405, the United States is entitled to recover from Lenox

all amounts erroneously refunded for the 2014, 2015, and 2016 tax years, plus statutory

interest accruing from the dates the Internal Revenue Service made the erroneous

refunds.

WHEREFORE, plaintiff United States of America hereby prays that this Court:

      A.      Order, adjudge, and decree that Lenox is indebted to the United States of

              America in the amount of $2,826,885 for the 2014 tax year refund, and that

              the Court enter judgment against Lenox and in favor of the United States

              for the amount, plus interest and any other statutory additions, from May

              21, 2020, as allowed by law;

      B.      Order, adjudge, and decree that Lenox is indebted to the United States of

              America in the amount of $1,084,544 for the 2015 tax year refund, and that

              the Court enter judgment against Lenox and in favor of the United States

              for the amount, plus interest and any other statutory additions, from May

              21, 2020, as allowed by law;

      C.      Order, adjudge, and decree that Lenox is indebted to the United States of

              America in the amount of $1,784,670 for the 2016 tax year refund, and that

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             the Court enter judgment against Lenox and in favor of the United States

             for the amount, plus interest and any other statutory additions, from May

             21, 2020, as allowed by law;

     D.      Award to the United States of America its cost of prosecuting this action;

             and

     E.      Award such other and further relief as the Court deems just and equitable.

DATED: May 19, 2022

                                 DAVID A. HUBBERT
                                 Deputy Assistant Attorney General

                                 /s/ Beatriz T. Saiz
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